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  The States seek expedited discovery to obtain and preserve evidence on the following topics:

               1.     The development and implementation of Defendants’ policy of separating
                      families who enter the United States along the Southwestern border, including
                      communications to Defendant employees (e.g., Customs and Border Patrol
                      (CBP) and Immigration and Customs Enforcement (ICE) officers) at the border
                      ports of entry regarding same.

               2.     The number of Separated Children1 placed by the Office of Refugee
                      Resettlement (ORR) - or any other Defendant - in each Plaintiff State from
                      January 1, 2018 to the present, by month and facility (or, for individual sponsor
                      placements, the county in which the child resides with such sponsor).

               3.     The number of Separated Parents2 who are or were detained in each Plaintiff
                      State from January 1, 2018 to the present, by month and facility.

               4.     The number of Separated Parents in each Plaintiff State released from DHS
                      custody from January 1, 2018 to the present, including the facility from which
                      they were released, the conditions of release, and current location.

               5.     As to every Separated Parent who is present in any Plaintiff State (or who was
                      present in a Plaintiff State on the day this lawsuit was filed):

                           a. The date that each Separated Parent was taken into DHS custody;

                           b. The current placement and location of every Separated Parent (e.g.,
                              held in the federal prison in SeaTac, Washington);

                           c. Whether the Separated Parent expressed fear for their safety in their
                              home country to Defendants at any point, and if so, whether and when
                              the Separated Parent was provided with a credible fear interview;

                           d. Whether the Separated Parent has withdrawn any claim to lawful
                              status while in DHS custody;

                           e. The contact that Defendants have provided between the Separated
                              Parent and his or her child(ren);

                                                              
                 1
                   “Separated Child” or “Separated Children” shall mean any child under the age of 18 who was
  traveling with an adult family member, who entered the United States along the Southwestern border in the
  company of such family member, and who the Department of Homeland Security (DHS) or any other
  Defendant separated from their family member thereafter.
          2
            “Separated Parent” shall mean any adult who was traveling with a family member under the age
  of 18, who entered the United States along the Southwestern border in the company of such child or
  children, and who DHS or any other Defendant separated from the child or children thereafter.




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                     f. The location of that Separated Parent’s children (if in an ORR
                        placement or custody); and

                     g. DHS’ plan to reunify the Separated Parent with the child.

           6.    As to every Separated Child who is present in any Plaintiff State (or who was
                 present in a Plaintiff State on the day this lawsuit was filed):

                     a. The current placement and location of every such child (e.g., living
                        with a sponsor in Seattle, Washington);

                     b. The contact that Defendants have provided between the child and
                        their Separated Parent(s) or other family members;

                     c. The location of that Separated Child’s Separated Parent(s);

                     d. DHS’ plan to reunify the Separated Child with the Separated
                        Parent(s); and

                     e. Information concerning the circumstances and progress of such
                        reunification efforts.

           7.    The development and implementation of Defendants’ practice of refusing to
                 allow entry to asylum seekers presenting themselves at ports of entry along the
                 Southwestern border, including all communications to Defendant employees
                 (e.g., CBP and ICE officers) working near those border ports of entry that
                 discuss this practice, including but not limited to discussion of “metering”,
                 numerical or space limits on asylum claims, administrative or other limits on
                 asylum claim processing, and requiring asylum seekers to return to ports of
                 entry at a later day or time.

           8.    Since January 1, 2018, the number of persons presenting at Southwestern border
                 ports of entry who expressed fear for their safety in their home country, but who
                 Defendants refused to allow to enter the United States, and all information
                 concerning the circumstances of Defendants’ refusal.

           9.    Since January 1, 2018, the number of persons presenting at Southwestern border
                 ports of entry who expressed fear for their safety in their home country, and
                 who Defendants detained in federal custody, and all information concerning the
                 circumstances of Defendants’ choice to detain them.

           10.   Since January 1, 2018, the number of persons presenting at Southwestern border
                 ports of entry who expressed fear for their safety in their home country, who
                 were traveling with their child or children at the time they arrived at the port of
                 entry, but who Defendants then separated from their child(ren); and all
                 information concerning the circumstances of such separation.




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           11.    For all Separated Parents who entered the United States along the Southwestern
                  border from January 1, 2018, information regarding:

                      a. The number and circumstances under which Separated Parents agreed
                         to relinquish a claim for lawful status while in DHS custody;

                      b. The number and circumstances under which Separated Parents agreed
                         to voluntary removal while in DHS custody;

                      c. The number and circumstances under which DHS removed Separated
                         Parents from the United States without their Separated Child; and

                      d. All reunification efforts the Defendants have made concerning
                         Separated Parents who were removed from the United States without
                         their Separated Children.

            12.   For all Separated Parents who have been released from DHS custody since
                  January 1, 2018, all information regarding DHS and HHS efforts to reunite
                  Separated Parents and Separated Children, including but not limited to:

                      a. Information regarding the paperwork required of Separated Parents
                         who want to reunite with their Separated Children, including any
                         requirement that Separated Parent complete Family Reunification
                         Applications, including background checks, DNA testing, or
                         fingerprinting, before reunification with their Separated Children;

                      b. Information regarding any financial requests or demands made of
                         Separated Parents who want to reunite with their Separated Children,
                         including demands that Separated Parents pay the airfare for Separated
                         Children and escorts as a condition of reunification;

                      c. Information regarding any other conditions or requirements the
                         Defendants are placing on Separated Parents who want to reunite with
                         their Separated Children.

           13.    As to Defendants’ stated intentions to detain families who enter along the
                  Southwestern border together in detention centers or similar facilities, all
                  information as to any sites under consideration that are located in any Plaintiff
                  States and any regulatory changes intended to facilitate family detention.

           14.    As to Defendants’ stated intentions to conduct summary deportations of
                  individuals who enter along the Southwestern border without hearing or
                  process, all information as to the existence and implementation of such policy
                  or practice.




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